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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

LEVON HODGES,

       Plaintiff,                                         Case No. 5:19-cv-40

v.

COMMONWEALTH ASSOCIATES GROUP, LLC,

      Defendants.
________________________________________/

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       The Plaintiff, LeVon Hodges, by and through undersigned counsel and pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, gives notice that this action is hereby

dismissed without prejudice.

DATED: March 15, 2019.                      Respectfully submitted,


                                            /s/ Joshua A. Mize
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